                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

    L.W. et al.,                                      )
    by and through her parents and next               )
    friends, Samantha Williams and Brian              )
    Williams                                          )                NO. 3:23-cv-00376
                                                      )             JUDGE RICHARDSON
         Plaintiffs,                                  )
                                                      )
    v.                                                )
                                                      )
    JONATHAN SKRMETTI et al.,                         )

         Defendants.

                                                 ORDER

           On June 28, 2023, the Court issued a Memorandum Opinion (Doc. No. 167, “Memorandum

Opinion”) and entered an order (Doc. No. 168, “Order”) granting in part and denying in part

Plaintiffs’ motion for a preliminary injunction. The Order enjoined Defendants from enforcing

most of the provisions of Senate Bill 1 (hereinafter “SB1” or “the law”), codified at Tenn. Code

Ann. § 68-33-101 et seq. Just hours later, Defendants filed a Notice of Appeal (Doc. No. 169) and

an “Emergency Motion for a Stay of Preliminary Injunction Pending Appeal” (Doc. No. 170,

“Motion”). In the Motion, Defendants request that if the Court is to deny the Motion, that it do so

“quickly, without waiting for a response from Plaintiffs, so that Defendants can proceed to the

Sixth Circuit.” (Doc. No. 170). Cognizant of the time-sensitive nature of certain features of this

action, and given that the Court’s ruling on the instant Motion does not prejudice Plaintiffs, the

Court herein exercises its discretion to rule on the instant Motion before the time period for a

response from Plaintiffs has expired. For the reasons stated herein, the Motion will be denied. 1


1
 Although the filing of a Notice of Appeal generally strips the district court of jurisdiction with respect to
matters involved in the appeal, district courts retain jurisdiction to “grant[], continue, modif[y], refuse[],




     Case 3:23-cv-00376 Document 172 Filed 06/30/23 Page 1 of 4 PageID #: 2747
        “A stay is not a matter of right, even if irreparable injury might otherwise result.” Nken v.

Holder, 556 U.S. 418, 433 (2009) (internal quotation marks omitted). “It is instead an exercise of

judicial discretion, and “[t]he propriety of its issue is dependent upon the circumstances of the

particular case.” Id. (internal quotation marks omitted). “The party requesting a stay bears the

burden of showing that the circumstances justify an exercise of that discretion.” Id. at 433–434.

Four factors govern whether a stay is warranted: “(1) whether the stay applicant has made a strong

showing that he is likely to succeed on the merits [of the appeal]; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure the other

parties interested in the proceeding; and (4) where the public interest lies.” See id. at 434. “Because

the state is the moving party, its own potential harm and the public’s interest merge into a single

factor.” SawariMedia, LLC v. Whitmer, 963 F.3d 595, 596 (6th Cir. 2020). “The first two factors

of the traditional standard are the most critical.” Nken, 556 U.S. at 433. “There is substantial

overlap between these and the factors governing preliminary injunctions, []; not because the two

are one and the same, but because similar concerns arise whenever a court order may allow or

disallow anticipated action before the legality of that action has been conclusively determined.”

See id. (internal citation omitted).

        The Court acknowledges that its Memorandum Opinion (Doc. No. 167) does not

necessarily dictate the outcome of the instant Motion. Indeed, Defendants could raise (and have

raised) in the Motion issues distinct from those resolved by the Court in its Memorandum Opinion.




dissolve[], or refuse[] to dissolve or modify an injunction. . ..” See Fed. R. Civ. P. 62(d), (a); Gutierrez v.
CogScreen, LLC, No. 17-cv-2378, 2018 WL 3006121, at *1 (W.D. Tenn. May 4, 2018) (explaining that
district courts retain jurisdiction for injunctions even where a notice of appeal has been filed); Prater v.
Commerce Equities Management Co., Inc., Civ. Act. No. H-07-2349, 2009 WL 172826, *1 (S.D. Tex. Jan.
22, 2009) (“[A] district court retains jurisdiction to entertain a motion to stay a judgment or order being
appealed.”). The Court is therefore satisfied that it has jurisdiction to consider the instant Motion, despite
the pending appeal overlapping with issues raised by the instant Motion.



   Case 3:23-cv-00376 Document 172 Filed 06/30/23 Page 2 of 4 PageID #: 2748
However, as for the four-factor test that generally governs whether a stay is warranted, Defendants

assert the same arguments (with one exception discussed below) in support of the instant Motion

as they previously posed in opposition to Plaintiffs’ motion for a preliminary injunction. Certainly,

the Court does not begrudge Defendants for doing so—the issues raised by the instant Motion are

substantially identical to those resolved in the Court’s Memorandum Opinion. Because

Defendants’ arguments in support of the four factors listed above are essentially identical to those

that they posed in opposition to Plaintiffs’ motion for a preliminary injunction, the Court is

satisfied that none of the four factors (substantial likelihood of success on the merits, irreparable

harm, injury to the other parties, and the public interest) weigh in favor of a stay.

       Defendants argue that even where the above-four factors do not weigh in favor of a stay, a

stay is nonetheless warranted where a movant has shown that a court’s ruling on an injunction

poses “serious questions going to the merits.” (Doc. No. 170 at 2). In other words, they argue that

if there are serious questions going to the merits of Plaintiffs’ motion for a preliminary injunction

and this Court’s ruling thereon, Defendants need not show either that those questions are likely to

be resolved on appeal in their favor (i.e., that they have a likelihood of success on appeal) or any

of the other above-referenced three factors. Defendants’ argument relies on the Sixth Circuit’s

fairly recent decision in Antonio v. Garland, 38 F.4th 524, 526 (6th Cir. 2022). But Antonio neither

says nor suggests that a stay is warranted where a court’s ruling on an injunction poses serious

questions on the merits, even where none of the above-four factors favoring a stay. Instead, Antonio

states that “even if a movant can demonstrate irreparable harm, he is still required to show, at a

minimum, serious questions going to the merits.” See id. (emphasis added). Contrary to

Defendants’ position, Antonio does not indicate that a movant meets his or her burden for a stay

by showing only that a court’s ruling on an injunction to be stayed poses serious questions on the




   Case 3:23-cv-00376 Document 172 Filed 06/30/23 Page 3 of 4 PageID #: 2749
merits. Therefore, even if the Court’s Memorandum Opinion and Order pose serious questions on

the merits, Defendants have not met their burden for a stay because none of the four factors favor

such a stay. 2

        For the reasons stated herein, the Court in its discretion DENIES the Motion (Doc. No.

170).

                        IT IS SO ORDERED.




                                                          ____________________________________
                                                          ELI RICHARDSON
                                                          UNITED STATES DISTRICT JUDGE




2
  The Court’s finding that a stay is unwarranted should come as no surprise because, even though a stay of
a preliminary injunction is never automatically out of the question at the outset, “the grant of a stay of a
preliminary injunction pending appeal will almost always be logically inconsistent with a prior finding of
irreparable harm that is imminent as required to sustain the same preliminary injunction.” Rodriguez ex rel.
Rodriguez v. DeBuono, 175 F.3d 227, 235 (2d Cir. 1999).




    Case 3:23-cv-00376 Document 172 Filed 06/30/23 Page 4 of 4 PageID #: 2750
